                               Case 17-04034            Doc 69-2        Filed 03/08/18 Entered 03/08/18 16:57:38                       Desc Exhibit
                                                                              12-2 Page 1 of 1                                                                EXHIBIT 12-2


                                                                   Zilberbrand Merrill Lynch Account Analysis
                                         Credits                                                                Debits                                                       Balance
             Funds       Electronic     Other        Dividends/       Total       Electronic    Other          Visa       ATM Cash      Checks Written       Total
            Received     Transfers      Credits       Interest       Credits      Transfers     Debits       Purchases    Advances       Bill Payments       Debits           $64,188.43
   2015
January                                $416,602.05         0.88     $416,602.93   ‐$6,868.37 ‐$3,300.17                    ‐$600.00         ‐$21,406.34     ‐$32,174.88      $448,616.48
February     $2,900.00    $4,256.24                       $5.77       $7,162.01 ‐$22,090.06 ‐$3,300.00                   ‐$3,320.00         ‐$60,665.14     ‐$89,375.20      $366,403.29
March       $35,365.97                                    $6.55      $35,372.52   ‐$2,545.17 ‐$2,500.00                  ‐$1,100.00         ‐$23,311.58     ‐$29,456.75      $372,319.06
April        $2,500.00                                    $5.88       $2,505.88   ‐$2,461.94 ‐$2,700.00                    ‐$600.00         ‐$20,192.30     ‐$25,954.24      $348,870.70
May          $1,700.00                  $65,000.00        $3.16      $66,703.16 ‐$11,988.25 ‐$2,750.00          ‐$21.82 ‐$5,549.81          ‐$38,108.47     ‐$58,418.35      $357,155.51
June        $17,780.46                                    $3.26      $17,783.72   ‐$9,416.77 ‐$2,750.00                    ‐$600.00         ‐$17,193.07     ‐$29,959.84      $344,979.39
July             $0.00         $0.35                      $3.04           $3.39 ‐$20,694.50 ‐$6,250.00          ‐$51.12 ‐$1,200.00           ‐$9,584.22     ‐$37,779.84      $307,202.94
Aug.        $15,000.00                                    $2.58      $15,002.58 ‐$69,262.87                                ‐$120.00         ‐$21,009.19     ‐$90,392.06      $231,813.46
Sept.        $1,966.67                  $50,000.00        $2.07      $51,968.74 ‐$16,083.91 ‐$3,300.00                   ‐$2,133.73          ‐$5,858.02     ‐$27,375.66      $256,406.54
Oct.           $900.00                  $50,000.00        $2.20      $50,902.20 ‐$31,131.64                              ‐$1,800.00         ‐$16,522.50     ‐$49,454.14      $257,854.60
Nov.        $14,110.00                                    $2.23      $14,112.23 ‐$16,170.30                              ‐$3,400.00         ‐$24,176.41     ‐$43,746.71      $228,220.12
Dec.        $21,063.48               $12,500.00           $2.13      $33,565.61   $21,063.43                               ‐$400.00          $21,703.90      $42,367.33      $218,620.40
Total      $113,286.58    $4,256.59 $594,102.05          $38.87     $711,684.97 ‐$187,650.35 ‐$26,850.17        ‐$72.94 ‐$20,823.54        ‐$236,323.34    ‐$471,720.34

   2016                                                                                                                                                                      $218,620.40
January        $496.67                                    $1.82         $498.49 ‐$11,123.20                                 ‐$900.00         ‐$8,047.41     ‐$20,070.61      $199,048.28
February     $5,093.25                                    $1.63       $5,094.88 ‐$13,650.23                               ‐$2,000.00        ‐$31,267.86     ‐$46,918.09      $157,225.07
March          $516.85                                    $1.26         $518.11 ‐$13,599.34                                 ‐$320.00        ‐$22,700.63     ‐$36,619.97      $121,123.21
April        $7,781.21                                    $0.99       $7,782.20 ‐$12,649.27                               ‐$1,320.00         ‐$8,058.35     ‐$22,027.62      $106,877.79
May         $16,820.00                                    $0.86      $16,820.86 ‐$28,872.04                               ‐$1,003.24        ‐$17,981.36     ‐$47,856.64       $75,842.01
June         $2,018.67                                    $0.57       $2,019.24 ‐$11,709.71                                                  ‐$9,818.61     ‐$21,528.32       $56,332.93
July         $2,463.54                  $95,000.00        $0.41      $97,463.95 ‐$25,687.65                              ‐$1,800.00         ‐$13,505.31     ‐$40,992.96      $112,803.92
Aug.         $2,449.82                  $95,000.00        $1.30      $97,451.12 ‐$32,520.42     ‐$2,209.64                 ‐$700.00         ‐$35,095.68     ‐$70,525.74      $139,729.30
Sept.          $902.73                                    $1.14         $903.87 ‐$26,668.65                              ‐$1,000.00          ‐$8,447.14     ‐$36,115.79      $104,517.38
Oct.           $704.97                                    $0.83         $705.80 ‐$24,163.10                              ‐$1,500.00          ‐$8,046.37     ‐$33,709.47       $71,513.71
Nov.         $3,833.00                                    $0.53       $3,833.53   ‐$6,036.55                             ‐$4,700.00         ‐$12,103.03     ‐$22,839.58       $52,507.66
Dec.         $1,542.71   $30,550.00                       $0.14      $32,092.85 ‐$21,095.61                     ‐$30.00 ‐$4,860.00          ‐$50,700.23     ‐$76,685.84        $7,914.67
Total       $44,623.42   $30,550.00 $190,000.00          $11.48     $265,184.90 ‐$227,775.77    ‐$2,209.64      ‐$30.00 ‐$20,103.24        ‐$225,771.98    ‐$475,890.63

   2017                                                                                                                                                                        $7,935.53
January       $771.00    $96,025.61                         0.12     $96,796.73   ‐$34,372.23                  ‐$436.29   ‐$2,900.00        ‐$58,961.78     ‐$96,670.30        $8,061.96
February                                                   $0.03          $0.03    ‐$5,618.00                               ‐$700.00           ‐$304.52      ‐$6,622.52        $1,439.47
Total         $771.00    $96,025.61          $0.00         $0.15     $96,796.76   ‐$39,990.23       $0.00      ‐$436.29   ‐$3,600.00        ‐$59,266.30    ‐$103,292.82

Overall
Total      $158,681.00 $130,832.20 $784,102.05           $50.50 $1,073,666.63 ‐$455,416.35 ‐$29,059.81         ‐$539.23 ‐$44,526.78        ‐$521,361.62   ‐$1,050,903.79
